Case 2:03-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 1 of 15 PagelD 292

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"" 2:03cR20369-01-Mi - . , .1~-

 

R|CARDO ALKEALOHA GANT
Lorna I\AcCluskj{l CJA
Defense Attorney
3074 East Street
l’\llemphis, TN 38128

 

E`»-U-P-P-L-E-i\ll-E-N-T-A-L1 JUDG|V|ENT |N A CRIN||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 2 and 49 of the indictment on November 24, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section Natu re of Offense Offense Number(sj
Conctuded
15 U.S.C. §§ 77q(a) and Securities Fraud and Aiding and 01/31/2001 2
77)< and 18 U.S.C. § 2 Abetting
15 U.S.C. § 7201 Tax Evasion 08/15/1999 49

The defendant is sentenced as provided in the following pages of this judgment The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory Victims Restitution Act
of 1996.

Al| remaining counts are dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines. restitution, costs and special assessments imposed
by this judgment are fully paid.

Defendant’s Soc. Sec. No. 428-33~6518 Date of lmposition of Sentence:
Defendant’s Date of Birth: 04/19/'1964 Nlarch 3, 2005
Deft’s U.S. Nlarsha| No.: 19226-076

Defendant’s Mai|ing Address: q
4246 Oakwind Drive 0 fw
l\/lemphis, TN 38141 ‘» ' f

- N PH|PPS i\/|CCALLA
UN\TE STATES D|STRI TJUDGE

N|ay , 2005
Thl'$ doe

- ‘ m amer
with ed on t
retire 55 ana/or 32er Fnhe docket s
Cr

' bag in CO .
P un 5_- mp ran
Ce
l Supplernented to include new restitution amount and individual victims

/'5

 

Case 2:03-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 2 of 15 PagelD 293

Case No; 2:03CR20369-01-|V|| Defendant Name: Ricardo All<ealoha GANT Page 2 of 14

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 Nlonths (or 5 Years) as to Count 2; 60 Months
(or 5 Years) as to Count 49. Counts 2 and 49 to be served consecutively with each
other for a total term of incarceration of 10 Years (or 120 l\/ionths).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States l\)larshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES l\/|ARSHAL
By:

 

Deputy U.S. l\/larshal

Case 2:03-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 3 of 15 PagelD 294

Case No: 2:03CR20369-01-Nl| Defendant Name: Ricardo Alkealoha GANT Page 3 of 14

SUPERVISED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 Years as to Count 2 and 3 Years as to Count 49. Counts 2 and 49 are to be
supervised concurrently with each other for a total term of supervised release of 3
Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ofncer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B, The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and

Case 2:O3-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 4 of 15 PagelD 295

Case No: 2:03CR20369-01-|Vl| Defendant Name: Ricardo All<ealoha GANT Page 4 of 14
shai| permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lfthisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Pena|ties sheet of this judgment.

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall make full financial disclosure
3. The defendant shall provide third party risk notincation.

4. The defendant shall cooperate With DNA collection as directed by the Probation Office

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$200.00 $3,702,506.00

The Special Assessment shall be due immediately

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Case No.' 2103CR20369-01-Ml Defendant Name: Ricardo All<ealoha GANT

FINE

No fine imposed.

REST|TUT|ON

Page 5 of 14

Restitution in the amount of $3,702,506.00 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Name of Payee

\/ince Abston
Barbara Adams

J. Adarkwa

Patricia Anderson
Robert Anderson
APL Enterprises
Suzanne Armour
Chester Aycock

J. Baptiste

Lenora Barnes
Wimblett Bamett, Sr.
Bart|ett Baptist Church
Ruth Bazernore
Wendell Beckles
Annie Bellamy

Doris Bingham
David Black

Emmitt Blount

William Blount

Total Amount

of Loss

$18,000.00
$6.332.00
310,000.00
$5,150.00
$10,150.00
$10,000.00
$50,000.00
$10,250.00
$10,000.00
$1,980.00
$‘\0,000.00
$5,000.00
340,000.00
$20,000.00
$15,000.00
$4,960.00
$21,000.00
$10,400.00
$5,000.00

Amount of

Restitution Ordered

$18,000.00
$6,332.00
$‘I0,000.00
$5,150.00
$10,150.00
$10,000.00
$50,000.00
$10,250.00
$10,000.00
$1,980.00
$10,000.00
$5,000.00
$40,000.00
320,000.00
$15,000.00
$4,960.00
$21,000.00
$10,400.00
$5,000.00

Priority
Order
or
Percentage

of Payment

Case 2:O3-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 6 of 15 PagelD 297

Case No; 2103CR20369-01-l\/l| Defendant Name: Ricardo A|keaioha GANT Page 6 of 14
Priority
Total Amount Amount of Order
Name of Pa ee of Loss Restitution Ordered or

_y_ Percentage

of Payment
l_awrence Bogier, Jr. $30,300.00 $30,300.00
JOhnnie BOnd $5,000.00 $5,000.00
Rosalind Bowen 31,640.00 $1,640.00
Jimmie Lee Bradshaw $15,000.00 315,000.00
Delores Bramlett $3,380.00 $3,380.00
Diana Brewer $10,000.00 $10,000.00
Terry Brewer $10,000.00 $10,000.00
Sheila Briggs $36,400.00 $36,400.00
April Broorn $2,566.00 $2,566.00
Robert Brown $9.560.00 $9,560.00
Larry Brunson $4,480.00 $4,480.00
Lauralene Campbell $20,200.00 $20,200.00
Juanita Carrington (Price) $9,000.00 $9,000.00
l\/lary Ann Carter $5,000.00 $5,000.00
Sandy Carter $3.800.00 $3,800.00
William Chapman $10,000.00 $10,000.00
Kent!Cynthia Chi||ous $23,200.00 $23,200.00
Emma Clark $10,000.00 $10,000.00
Harold Conway $5,100.00 $5,100.00
Eugene Cormier $9,250.00 $9,250.00
Richard Covington $10,000.00 $10,000.00
i\/lelvin COX $2.460.00 $2,460.00
Vincent Cox $2,550.00 $2,550.00
Vanessa Cox $45,000.00 $45,000.00
Linda Wise Crutcher $7,660.00 $7,660.00

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Case No: 2:03CR20369-01-M| Defendant Name: Ricardo Alkealoha GANT Page 7 of 14
Priority
Total Amount Amount of Order
Name of Pa! gee of Loss Restitution Ordered or
Percentage
of Payment

E|aina Davis

l\/lar|< Anthony Davis
l\/lildred Davis

lvlary Denard
District 11 COG|C

Juanita Dove
aka/Juanita Dove l\/luhhammad

James Dove
aka/James l`vluhammed

Avonelle Durant

Jon & April Dye

Woodrow & Patricia Edwards
Anthony Epps

Robert Epps, Jr.

Benny Eggars

Janice Fenn

Yong Hwa Fields

Clarence 8 Charletta Fine|y
Raffia Ford

Dock 8 Nadine Foster
Ronald Franklin

Carlos Fuentes

Kathleen & Robert Fuller
l_ynnise Gandy

Cora Grant

Leilani Gant

$1,640.00
$5.000.00
$9,900.00
$4,100.00
$4,000.00
$7,000.00

$60,000.00

$4,000.00
$15,000.00
$2,000.00
$13,650.00
$26,300.00
$29,500.00
$5,000.00
$3,000.00
$5,000.00
$5,000.00
$3,000.00
$95,500.00
$1.460.00
$7,000.00
$2,000.00
$5,000.00
$4,640.00

$1,640.00
$5,000.00
$9,900.00
$4,100.00
$4,000.00
$7,000.00

$60,000.00

$4,000.00
315,000.00
$2,000.00
$13,650.00
$26,300.00
$29,500.00
$5,000.00
$3,000.00
$5,000.00
$5.000.00
$3,000.00
$95,500.00
$1,460.00
$7,000.00
$2,000.00
$5,000.00
$4,640.00

Case 2:O3-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 8 of 15 PagelD 299

Case No: 2103CR20369-01-l\/|| Defendant Name: Ricardo Alkealoha GANT

Name of Payee

l\/lelvin & Francis Gant
Clarence Gardner
Lamont Gartand
James Gelsey
Bernice Gibbs
Ayanna Gilmore
Kevin Gibson

Lora Givens-Carter
Lynwood Grady
Janet Grady
Benjamin Graham
Janice Green
Pamela Green
Robert Green

ida Grundy
Anthony Hardy
Arthur Harris

Larry Harris

l-larry Hase

Scar|et Headen (VVa|lace)
F. Henderson
Carlton l-licks
Gerald Hi|l

lV|ary Cobb Hil|

R. Patrick Hil|

Total Amount

of Loss

$22,000.00
$30,000.00
$5.000.00
$22,000.00
$6,400.00
$2,000.00
$1,520.00
354,800.00
$500.00
$5,000.00
$4,250.00
$48,595.00
$4,100.00
$4,100.00
$7,100.00
$Q.OO0.00
$4,250.00
$20,000.00
$5,000.00
$5,000.00
$2,020.00
$22,400.00
$1,659.00
$50,000.00
$5,000.00

Amount of

Restitution Ordered

$22,000.00
$30,000.00
$5,000.00
$22,000.00
$6,400.00
$2,000.00
$1,520.00
$54,800.00
3500.00
$5,000.00
$4,250.00
348,595.00
$4,100.00
$4,100.00
$7,100.00
$9,000.00
$4,250.00
$20,000.00
$5,000.00
$5,000.00
$2,020.00
$22,400.00
$1,659.00
$50,000.00
$5,000.00

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Priority
Order
or
Perce ntage

of Payment

Case 2:O3-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 9 of 15

Case No: 2:03CR20369-01-l\/l| Defendant Name: Ricardo All<ea|oha GANT

Name of Payee

Antoinette Hines
Vinson l-lines

Ernest Hinton

James Hofmeister
Richard Holliday
Linwood 8 i\/linnie l-lolmes
Linwood Ho|mes
Linda Holmes

Holy Serenity

Curtis Horton
lt/iaureen Howard

Liu Jing

Bernard Johnson
lV|cKin|ey Johnson, Sr.
lVlichael Johnson
Theodore Johnson
Pastor W. James Johnson
James Jones

l\/larque Jones
Pau|Jones

Perry Jones

Debra Kap|in-Fate
Sarella Kate|y

Ervin Keaton, Jr.

Edward Kienle

Total Amount
ofLoss

$5,000.00
$5,695.00
$5,000.00
$7,600.00
$3,800.00
$35,000.00
$5,000.00
$5,000.00
$5,000.00
$2,000.00
$13,200.00
$5,000.00
$15,000.00
$4,600.00
$8,579.00
$15,000.00
$165,999.00
$31,000.00
$3,000.00
$3,000.00
$2,200.00
$69,241.00
$10,000.00
$14,000.00
$2,000.00

Amount of

Restitution Ordered

$5,000.00
$5,695.00
$5,000_00
$7,600.00
$3,800.00
$35,000.00
$5,000.00
$5,000.00
$5,000.00
$2,000.00
$13,200.00
$5,000.00
$15,000.00
$4,600.00
$8,579.00
$15,000.00
$165,999.00
$31,000.00
$3,000.00
$3,000.00
$2.200.00
$69,241.00
$'I0,000.00
$14,000.00
$2,000.00

PagelD 300

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Priority
Order
or
Percentage

of Payment

Case 2:O3-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 10 of 15 PagelD 301

Case Nof 2:030R20369»01-Nl| Defendant Name: Ricardo All<ealoha GANT

Name of Payee

Randolph Koonce
Anthony Kyles
E|tea Lambert
Belinda l_arkin
Barbara Leslie
Erma i_inville
Linda Kay L|oyd
Lori l\riackey
Edith l\/laddox

l\/larketpoint insurance Group
(l\/liche||e Burroughs)

Ralph lVlcClaney
lvlichael McGhee
Dexter lVchi||

Bruce lVchee

Brett lvlerkle

Lawrence lVlessinea
Katrina tvliller

Rev. Addis l\/loore
Gwendolyn l\/ioore

Rev. Harry N|oore
Laddie Nloore

Almeta l\/loorer

Patricl< J.M. l\/lorris

lVlt. Olive Baptist Church
l\/lt. Zion Baptist Church

Total Amou nt
of Loss

$22,350.00
$7,500.00
$11,300.00
$5,640.00
$59,000.00
$3,608.00
$2,000.00
$10,000.00
$16,400.00
$38,000.00

$10,100.00
$5,000.00
$5,000.00

$15,000.00

$10,000.00
$4,900.00
$9,000.00

$35,700.00`
$21,000.00

330,000.00
$3,000.00

$20,000.00

$38,000.00

$80,000.00

$300,000.00

Amount of

Restitution Ordered

$22,350.00
$7,500.00
$11,300.00
$5,640.00
$59,000.00
$3,608.00
$2,000.00
$10,000.00
$16,400.00
$38,000.00

$10,100.00
$S,OO0.00
$5,000.00

$15,000.00

$10,000.00
$4,900.00
$9,000.00
$35,700.00
321,000.00

$30,000.00
$3,000.00

$20,000.00

$38,000.00

$80,000.00

$300,000.00

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Priority
Order
or
Percentage

of Payment

Case 2:O3-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 11 of 15 PagelD 302

Case No: 2:030R20369-01-|V|| Defendant Name: Ricardo Aikealoha GANT

Name of Payee

Anthony lv‘lurphy
Kenneth Newman
New St. Paul

Original Tabernac|e of Prayer for
All People

Andrew & Elnora Orr
Denise Patrick

William Ale><ander Payne
l\/lichael Penny

image Peterson
Rhonda Peterson

Oris Pruitt

Rhema Christian Center
Robert Reid

Mab|e Richard

Henry Roberts

Dora Robinson

Lori 8 Lee Robinson
Samuel Robinson, Sr.
Daryl Satterfield
Barbara Lane Sears
Shiloh Baptist Church
Barbra Singleton

Cynthia Smith
aka/Atika Sayfuddin

Lena Smith

Total Amount
of Loss

$6.000.00
$2,310.00
$3,000.00
$60,620.00

$42,500.00
$2,000.00
$7,500.00
$6,000.00
$8,500.00

$200.00
$7,000.00

$25,000.00

$11,025.00

$10,000.00
$5,000.00
$2,000.00
$7,600.00

$15,000.00

$10,500.00

$10,000.00

$25,250.00
$8,300.00
$7,600.00

$38,000.00

Amount of
Restitution Ordered

$6,000.00
$2,310.00
$3,000.00
560,620.00

$42,500.00
$2,000.00
S?,BO0.00
$6,000.00
$8,500.00

3200.00
$7,000.00

$25,000.00

311,025.00

$10,000.00
$5,000.00
$2,000.00
$7,600.00

$15,000.00

$10,500.00

$10,000.00

$25,250.00
$8,300.00
$7,600.00

$38,000.00

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Priority
Order
or
Percentage

of Payment

Case 2:O3-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 12 of 15 PagelD 303

Case No: 2:03CR20369-01-l\/i| Defendant Name: Ricardo Alkealoha GANT Page 12 of 14

Priority
Total Amou nt Amount of Order
Name of Pa fee of Loss Restitution Ordered or
Percentage
of Payment

Nathan Smith $57,000.00 $57,000.00

dba/Two P|us Two Design

Jameria Solomon $8,150.00 $8,150.00

St John Church of God in Christ $100,000.00 $100,000.00

St. l\/lark Church Ministries, inc. $6,060.00 $6,060.00

lvana Stai|ings $30,000.00 $30,000.00

Ann Standfield $126,000.00 $126,000.00

Jessie Stap|e $2,000.00 $2,000.00

Gina Stevenson $6,600.00 $6,600.00

Linda Street & Regina Street $15,540.00 $15,540.00

Amos Stuckey, Sr. 821,000.00 $21,000.00

Ruth & issac Tazeweli $3,050.00 $3,050.00

Bernadine Thomas $42,000.00 $42,000.00

Fred Thomas, Jr. 311,400.00 $11,400.00

Dr. lVlario Thomas $20,000.00 $20,000.00

Jimmie 8 Lue Thornton 55,000.00 $5,000.00

Rose Tobias $5,000.00 $5,000.00

Geraldine Travis $15,000.00 $15,000.00

FNU Tubemacl< $60,620.00 $60,620.00

Stanley Tune $5,000.00 $5,000.00

Ada & Wilbert Uzeli $30,300.00 $30,300.00

Bernette Walker $5,000.00 $5,000.00

Bernice Walker $15,000.00 $15,000.00

Alexander & Rena Wal|ace $10,000.00 $10,000.00

A. Wandycz $8,000.00 $8,000.00

Ernesto Ward $62,257.00 $62,257.00

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Leonard Woods

$22,000.00

$22,000.00

Case No: 2103CR20369-01-l\/|i Defendant Name: Ricardo Alkea|oha GANT Page 13 of 14
Priority
Total Amou nt Amou nt of Order
Name of Paj fee of Loss Restitution Ordered or
Percentage
£fof_ne_nf

Aifred VVarren $3,000.00 $3,000.00
David Warren $3,000.00 $3,000.00
Lucy Warren $10,000.00 $10,000.00
Dozier Washington $4,100.00 $4,100.00
Edward Washington, Sr. $2,500.00 $2,500.00
|Vl. Washington $2,000.00 $2,000.00
Ronaid Watson $5,000.00 $5,000.00
Della Webster 335,600.00 $35,600.00
Garrett Webster $3,920.00 $3,920.00
Gioria Webster $5,000.00 $5,000.00
Harriet Webster $38,700.00 $38,700.00
i\/lonroe Webster $920.00 $920.00

Antwan Wes|ey $10,000.00 $10,000.00
C.i. West $2,000.00 52,000.00
i\/lary West $2,000.00 $2,000.00
Gwendo|yn White 52,000.00 $2,000.00
A|ice Wicks $2,000.00 $2,000.00
James E. Williams $47,600.00 $47,600.00
Samue| Williams $5,000.00 $5,000.00
Ervin Williamson $45,000.00 $45,000.00
John Wiiioughby $10,000.00 $10,000.00
|Vlary Witherspoon $10,100.00 $10,100.00
i_ydia Wooden $1,520.00 $1,520.00
A|v`tn VVOOds $7,700.00 $7,700.00

Case 2:O3-cr-20369-.]Pl\/l Document 137 Filed 05/04/05 Page 14 of 15 PagelD 305

Case No: 2103€R20369-01-M| Defendant Name: Ricardo Alkeaioha GANT Page 14 of 14
Priority
Total Amount Amount of Order
Name of pa ee of Loss Restitution Ordered or
___¥L_ ""____
Percentage
of Payment
James Wright $2,500.00 $2,500.00
Deicia \'oung $10,000.00 $10,000.00

SCHEDULE OF PAYIVIENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Speciai instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
20% of his gross monthly income

Uniess the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment A|i criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court unless otherwise directed by the court the probation officer, or the United States attorney

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

STATE DISTRI T COURT - WETEN D'R'TSTC OFTNNEESSEE

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 137 in
case 2:03-CR-20369 Was distributed by t`aX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

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Honorable J on McCaila
US DISTRICT COURT

